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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA

      v.                                 Criminal No. 06-92-02 (JBS)

BRIAN DICKENS,
                                        ORDER
                  Defendant.



     This matter came before the Court upon its own motion; it

appears that the Defendant has filed an application for reduction

of sentence under 18 U.S.C. § 3582(c) on August 26, 2008 [Docket

Item 53], and that no response thereto has been received from the

United States; and for good cause shown;

     IT IS this          9th   day of October, 2008 hereby

     ORDERED that the United States shall file and serve an

appropriate response to Defendant’s application within twenty

(20) days of the entry of this Order.




                                   s/ Jerome B. Simandle
                                   JEROME B. SIMANDLE
                                   U.S. District Judge
